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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:14CR316
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                  ORDER
                                                             )
ENRIQUE NAJAR and                                            )
BRETT BOOKER,                                                )
                                                             )
                          Defendants.                        )


        This matter is before the court on the motions for an extension of time by defendants Enrique Najar
(Najar) (Filing No. 30) and Brett Booker (Booker) (Filing No. 29). Booker seeks an extension of sixty days in
which to file pretrial motions in accordance with the progression order and Najar seeks an extension of thirty

days. Upon consideration, the motions will be granted and the pretrial motion deadline will be extended as to

both defendants for a period of sixty days.


        IT IS ORDERED:
        Defendants' motions for an extension of time (Filing Nos. 29 and 30) are granted. The defendants are
given until on or before December 28, 2014, in which to file pretrial motions pursuant to the progression order.
The ends of justice have been served by granting such motion and outweigh the interests of the public and the
defendants in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time

between October 24, 2014, and December 28, 2014, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendants' counsel require additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(7)(A) & (B).


        DATED this 24th day of October, 2014.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
